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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

BODYGUARD PRODUCTIONS, INC., )
) Case No.: l7-cv-7669

Plaintiff, )
) Judge Sara L. Ellis

V.

DOES 1-29,

Defendants.

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DOE DEFENDANT NO. 8

 

Plaintiff, Bodyguard Productions, lnc., pursuant to Rule 41(a)(l) of the Federal Rules of
Civil Procedure, hereby dismisses with prejudice all causes of action in the complaint against the
Doe Defendant associated with lntemet Protocol address 73.74.239.39 (Doe No. 8). Each party shall
bear its own attorney’s fees and costs. Plaintiff is not dismissing any other Doe defendants at this
time.

The respective Doe Defendant has not filed an answer to the complaint or a motion for
summary judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule
41(a)(l) is appropriate

Respectfully submitted,
Dated: April 5, 2018 BODYGUARD PRODUCTIONS, INC.

By: s/Michael A. Hierl
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Attomeys for Plaintiff
Bodyguard Productions, Inc.

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CERTIFICATE OF SERVICE

 

The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of` Voluntary Dismissal of Doe Defendant No. 18was filed electronically with the Clerk
of the Court and served on all counsel of record and interested parties via the CM/ECF system on
April 5, 2018.

s/Michael A. Hierl

